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IN THE UNITED sTATEs DIS;_T‘RI"CT `CoURii :~»,
FoR THE DIsTRICT oF MARYLAND
BALTIMoRE Dlvlsl,,og§\l; 5 . ;', .,

JAMES T. BUECHLER, *
Individually and on behalf of all
others similarly situated,

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Civil Action No.: 09-801
Plaintifj§ *
v. *

CUTTING EDGE PIZZA, L.L.C., et al., *

Defendants. *
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FINAL JUDGMENT

 

This matter came on for hearing upon the joint application of the Settling Parties
for approval of the settlement set forth in the Class Action Settlement Agreement (the
“Settlement Agreement”). Due and adequate notice having been given to the Class, and
the Court having considered the Settlement Agreement, all papers filed and proceedings
had herein and all oral and written comments received regarding the proposed settlement,
and having reviewed the record in this Litigation, and good cause appearing,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

The Court, for purposes of this Judgment and Order of Dismissal (“Judgment”),
adopts all defined terms as set forth in the Class Action Settlement Agreement filed in
this case.

The Court has jurisdiction over the subject matter of the Litigation, the Class

Representative, the other Members of the Settlement Class and Cutting Edge Pizza, LLC.

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The Court finds that the distribution of the Notice to Class Members Re: Pendency
of Class Action as provided for in the Order Granting Preliminary Approval for the
Settlement, constituted the best notice practicable under the circumstances to all Persons

within the definition of the Class and fully met the requirements of due process under the
United States Constitution. Based on evidence and other material submitted in
conjunction with the Settlement Hearing, the notice to the class was adequate

The Court finds in favor of settlement approval

The Court approves the settlement of the above-captioned action, as set forth in
the Settlement Agreement, each of the releases, and other terms, as fair, just, reasonable,
and adequate as to the Settling Parties. The Settling Parties are directed to perform in
accordance with the terms set forth in the Settlement Agreement.

All of the Released Claims are dismissed with prejudice as to the Class
Representative and the other Members of the Class. The Settling Parties are to bear their
own attorneys’ fees and costs, except as otherwise provided in the Settlement Agreement
and this Judgment.

Solely for purposes of effectuating this settlement, this Court has certified a class
of all Members of the Settlement Class, as that term is defined in and by the terms of the
Settlement Agreement.

With respect to the Rule 23 Class and for purposes of approving this settlement
only, this Court finds and concludes that: (a) the Members of the Rule 23 Class are

ascertainable and so numerous that joinder of all members is impracticable; (b) there are

questions of law or fact common to the Rule 23 Class, and there is a well-defined

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community of interest among Members of the Rule 23 Class with respect to the subject
matter of the Litigation; (c) the claims of Class Representative J ames Buechler are typical
of the claims of the Members of the Rule 23 Class; (d) the Class Representative has fairly
and adequately protected the interests of the Members of the Rule 23 Class; (e) a class
action is superior to other available methods for an efficient adjudication of this
controversy and common issues predominate over individual issues; and (f) the counsel

of record for the Class Representative, i.e., Class Counsel, are qualified to serve as
counsel for the plaintiffs in their individual and representative capacities and for the Rule
23 Class.

By this Judgment, the Class Representative shall release, relinquish and discharge,
and each of the Settlement Class Members shall be deemed to have, and by operation of
the Judgment shall have, fully, finally, and forever released, relinquished and discharged
all Released Claims, defined as claims: (1) for the statutory damages provided by 15
U.S.C. §1681n(a); (2) for the punitive damages provided by 15 U.S.(3. §1681n(a)(2); and
(3) for the costs of the action and attorneys fees provided by 15 U.S.C. §1681n(a)(3) as
relates to credit card receipts provided by Cutting Edge Pizza, LLC, between December
8, 2008, and April 8, 2009. “Released Claims” does not include actual damages due to
identity theft caused as a result of a credit card receipt provided by Cutting Edge Pizza,
between December 8, 2008, and April 8, 2009. Consumers who have suffered such
actual damages are excluded from the Class.

This matter is hereby dismissed with prejudice.

Neither the Settlement Agreement, nor any act performed or document executed

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pursuant to or in furtherance of the settlement (i) is or may be deeme
used as an admission of, or evidence of, the validity of any Released t
wrongdoing or liability of Cutting Edge Pizza, LLC; or (ii) is or may
may be used as an admission of, or evidence of, any fault or omission
Pizza, LLC in any civil, criminal or administrative proceeding in any
administrative agency or other tribunal Cutting Edge Pizza, LLC ma
Agreement and/or the Judgment from this Litigation in any other acti<
brought against them in order to support a defense or counterclaim ba
res judicata, collateral estoppel, release, good faith settlement, judgm<
or any theory of claim preclusion or issue preclusion or similar defens
The only Settlement Class Members entitled to relief pursuant to this
Participating Claimants. Neither the Settlement Agreement nor this J
in the creation of any unpaid residue or residual

Cutting Edge Pizza, LLC has agreed to pay Class Counsel thei
attorneys’ fees in this matter as well as certain allowable costs in this
finds that these agreements are fair and reasonable Cutting Edge Piz
to make such payments in accordance with the terms of the Settlemen
amount of $125,875.65 for attorneys fees and expenses and $5,000.0(
fee.

The Court reserves exclusive and continuing jurisdiction over
Class Representative, the Settlement Class and Cutting Edge Pizza, L

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interpretation of the Settlement Agreement and this Judgment.
This document shall constitute a judgment for purposes of Rule 58 of the Federal
Rules of Civil Procedure.

IT IS SO ORDERED.

 
 

 

liam D. Quarles, Jr.
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